           1:17-cv-01577-CSB # 62          Page 1 of 1                                               E-FILED
Judgment in a Civil Case (02/11)                                           Monday, 22 April, 2019 01:34:33 PM
                                                                                Clerk, U.S. District Court, ILCD
                            UNITED STATES DISTRICT COURT
                                                for the
                                       Central District of Illinois

Steven D. Lisle, Jr.,                           )
                                                )
                    Plaintiff,                  )
                                                )
                              vs.               )        Case Number: 17-CV-1577
                                                )
Patrick Smith, Zachary Sereg, Levi              )
Foster, Anton Frazier, Susan Prentice,          )
Paul Thorson,                                   )
                                                )
                    Defendant.                  )

                                    JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.               The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                  This action came before the Court, and a decision has
been rendered.

      IT IS ORDERED AND ADJUDGED that plaintiff’s case against the defendants is
dismissed with each party to bear their own costs.

Dated: 4/22/2019

                                                         s/ Shig Yasunaga
                                                         Shig Yasunaga
                                                         Clerk, U.S. District Court
